
690 S.E.2d 528 (2010)
HARDY
v.
BEAUFORT CO. BD. OF EDUC.
No. 481A09.
Supreme Court of North Carolina.
January 25, 2010.
Erwin Byrd, for Gail Hardy, ex rel.; Jane Wettach, for Gail Hardy.
Curtis H. (Trey) Allen, III, Raleigh, for Beaufort County Bd. of Educ.
*529 The following order has been entered on the motion filed on the 21st of January 2010 by N.C. School Boards Association for leave to file Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference this the 25th of January 2010."
Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i).
